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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

TY WILLIAMS, individually and on behalf of all
others similarly situated,                               Case No.
40 Napa Valley Rd.
Gaithersburg, MD 20878

                       Plaintiff,

       v.


POTOMAC FAMILY DINING GROUP
OPERATING COMPANY, LLC dba
APPLEBEE’S
c/o CSC-Lawyers Incorporating Service Co.
7 St. Paul St., Suite 820
Baltimore, MD 21202

                       Defendant.


                       NATIONWIDE CLASS ACTION COMPLAINT

       COMES NOW, Plaintiff Ty Williams, on behalf of himself and all others similarly

situated, and assert as follows:

                                       INTRODUCTION

       1.       Plaintiff brings this action individually and on behalf of all others similarly

situated against Potomac Family Dining Group Operating Company, LLC, dba Applebee’s,

(“Defendant”), asserting violations of Title III of the Americans with Disabilities Act, 42 U.S.C.

§ 12101 et seq. (the “ADA”), and its implementing regulations, in connection with accessibility

barriers in the parking lots and paths of travel at various public accommodations owned,

operated, controlled, and/or leased by Defendant (“Defendant’s facilities”).

       2.       Plaintiff has a mobility disability and is limited in the major life activity of

walking, which requires him to use a wheelchair for mobility.
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       3.         Plaintiff has visited Defendant’s facilities, and in particular the Defendant’s

Applebee’s Restaurant in Germantown, Maryland, and was denied full and equal access as a

result of Defendant’s inaccessible parking lots and paths of travel.

       4.         Plaintiff’s   experiences   are   not   isolated—Defendant      has   systematically

discriminated against individuals with mobility disabilities by implementing policies and

practices that consistently violate the ADA’s accessibility guidelines and routinely result in

access barriers at Defendant’s facilities.

       5.         In fact, numerous facilities owned, controlled, and/or operated by Defendant have

parking lots and paths of travel that are inaccessible to individuals who rely on wheelchairs for

mobility, demonstrating that the centralized decision making Defendant employs with regard to

the design, construction, alteration, maintenance, and operation of its facilities causes access

barriers and/or allows them to develop and persist at Defendant’s facilities.

       6.         Unless Defendant is required to remove the access barriers described below, and

is required to change its policies and practices so that access barriers do not reoccur at

Defendant’s facilities, Plaintiff and the proposed Class will continue to be denied full and equal

access to those facilities as described and will be deterred from fully using Defendant’s facilities.

       7.         The ADA expressly contemplates injunctive relief aimed at modification of a

policy or practice that Plaintiff seeks in this action. In relevant part, the ADA states:

       [i]n the case of violations of . . . this title, injunctive relief shall include an order
       to alter facilities to make such facilities readily accessible to and usable by
       individuals with disabilities . . .. Where appropriate, injunctive relief shall also
       include requiring the . . . modification of a policy . . ..

42 U.S.C. § 12188(a)(2).

       8.         Consistent with 42 U.S.C. § 12188(a)(2), Plaintiff seeks a permanent injunction

requiring that:

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       a. Defendant remediate all parking and path of travel access barriers at
          Defendant’s facilities, consistent with the ADA;

       b. Defendant change its policies and practices so that the parking and path of
          travel access barriers at Defendant’s facilities do not reoccur; and

       c. Plaintiff’s representatives shall monitor Defendant’s facilities to ensure that the
          injunctive relief ordered pursuant to Paragraph 8.a. and 8.b. has been
          implemented and will remain in place.

       9.       Plaintiff’s claims for permanent injunctive relief are asserted as class claims

pursuant to Fed. R. Civ. P. 23(b)(2). Rule 23(b)(2) was specifically intended to be utilized in

civil rights cases where the Plaintiff seeks injunctive relief for his or her own benefit and the

benefit of a class of similarly situated individuals. To that end, the note to the 1996 amendment

to Rule 23 states:

       Subdivision(b)(2). This subdivision is intended to reach situations where a party
       has taken action or refused to take action with respect to a class, and final relief of
       an injunctive nature or a corresponding declaratory nature, settling the legality of
       the behavior with respect to the class as a whole, is appropriate . . .. Illustrative
       are various actions in the civil rights field where a party is charged with
       discriminating unlawfully against a class, usually one whose members are
       incapable of specific enumeration.

                     THE ADA AND ITS IMPLEMENTING REGULATIONS

       10.      The ADA was enacted nearly 30 years ago and is intended to “provide a clear and

comprehensive national mandate for the elimination of discrimination against individuals with

disabilities.” 42 U.S.C. § 12101(b)(1).

       11.      The ADA broadly protects the rights of individuals with disabilities in

employment, access to state and local government services, places of public accommodation,

transportation, and other important areas of American life.

       12.      Title III of the ADA generally prohibits discrimination against individuals with

disabilities in the full and equal enjoyment of public accommodations, 42 U.S.C. § 12182(a),



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and prohibits places of public accommodation, either directly or through contractual, licensing,

or other arrangements, from outright denying individuals with disabilities the opportunity to

participate in a place of public accommodation, 42 U.S.C. § 12182(b)(1)(A)(i), or denying

individuals with disabilities the opportunity to fully and equally participate in a place of public

accommodation, 42 U.S.C. § 12182(b)(1)(A)(ii).

       13.     Title III further prohibits places of public accommodation from utilizing methods

of administration that have the effect of discriminating on the basis of a disability. 42 U.S.C. §

12182(b)(1)(D).

       14.     Title III and its implementing regulations define discrimination to include the

following:

       a) Failure to remove architectural barriers when such removal is readily
          achievable for places of public accommodation that existed prior to January 26,
          1992, 28 C.F.R. § 36.304(a) and 42 U.S.C. § 12182(b)(2)(A)(iv);

       b) Failure to design and construct places of public accommodation for first
          occupancy after January 26, 1993, that are readily accessible to and usable by
          individuals with disabilities, 28 C.F.R. § 36.401 and 42 U.S.C. § 12183(a)(1);

       c) For alterations to public accommodations made after January 26, 1992, failure
          to make alterations so that the altered portions of the public accommodation
          are readily accessible to and usable by individuals with disabilities, 28 C.F.R. §
          36.402 and 42 U.S.C. § 12183(a)(2); and

       d) Failure to maintain those features of public accommodations that are required
          to be readily accessible to and usable by persons with disabilities, 28 C.F.R. §
          36.211.

       15.     The remedies and procedures set forth at 42 U.S.C. § 2000a-3(a) are provided to

any person who is being subjected to discrimination on the basis of disability or who has

reasonable grounds for believing that such person is about to be subjected to discrimination in

violation of 42 U.S.C. § 12183. 42 U.S.C. 12188(a)(1).




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        16.     The ADA also provides for specific injunctive relief, which includes the

following:

        In the case of violations of sections 12182(b)(2)(A)(iv) and section 12183(a) of
        this title, injunctive relief shall include an order to alter facilities to make such
        facilities readily accessible to and usable by individuals with disabilities to the
        extent required by this subchapter. Where appropriate, injunctive relief shall also
        include . . . modification of a policy . . . to the extent required by this subchapter.

42 U.S.C. § 12188(a)(2); 28 C.F.R. § 36.501(b).

                                JURISDICTION AND VENUE

        17.     This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and

42 U.S.C. § 12188.

        18.     Plaintiff’s claims asserted herein arose in this judicial district, and Defendant does

substantial business in this judicial district.

        19.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2) in that this is

the judicial district in which a substantial part of the events and/or omissions at issue occurred.

                                                  PARTIES

        20.     Plaintiff Ty Williams is, and at all relevant times hereto was, a resident of

Montgomery County, Maryland. As described above, as a result of his disability, Mr. Williams

uses a wheelchair for mobility. He resides in Gaithersburg, Maryland. He suffered an injury

during a football game in 2015 which resulted in a fracture to his sixth vertebrae, leaving him

paralyzed from the waist down. Two and a half years after his injury, Mr. Williams earned a

bachelor’s degree in government from Georgetown University. A year and a half after the injury,

Mr. Williams was the keynote graduation speaker for his high school alma mater, Quince

Orchard in Maryland’s Montgomery County. He is currently a graduate student at Georgetown




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University, working towards a Sports Management degree. Since the time of the injury, he has

persevered through rehab in an attempt to regain his strength and use of his legs.

        21.     Defendant Potomac Family Dining Group Operating Company, LLC is, and at all

times relevant hereto was, a Delaware limited liability company, with its principal place of

business in Herndon, Virginia. The group was founded by Mr. Timothy George and now owns

69 Applebee’s Grill & Bars throughout Virginia, Maryland, Pennsylvania, West Virginia, and

North Carolina. See, “About,” at https://www.potomacdining.com/about (last accessed June 4,

2019). The Applebee’s locations Defendant owns and operates include those locations which

Plaintiff encountered, as described in more detail below. See list of owned locations at,

https://www.potomacdining.com/store-locator (last accessed June 4, 2019).

        22.     Defendant is a public accommodation pursuant to 42 U.S.C. §12181(7).

                                    FACTUAL ASSERTIONS

I.      Plaintiff Has Been Denied Full and Equal Access to Defendant’s Facilities.

        23.     Plaintiff Williams has visited Defendant’s facility located at 21048 Frederick Rd.

Germantown, MD within the last year, where he experienced unnecessary difficulty and risk due

to excessive slopes in a purportedly accessible parking area and other ADA accessibility

violations as set forth in more detail below.

        24.     Despite this difficulty and risk, Mr. Williams plans to return to Defendant’s

facilities, at least six times a year. It is convenient for him to stop by regularly to continue to test

Defendant’s facilities’ compliance with the ADA because Mr. Williams regularly dines at

Applebee’s when he is shopping at the nearby Walmart or Target. He likes to order whatever the

half price appetizers are that day. Furthermore, he intends to return to Defendant’s facilities to

ascertain whether those facilities remain in violation of the ADA.



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        25.     As a result of Defendant’s non-compliance with the ADA, Mr. Williams’ ability

to access and safely use Defendant’s facilities has been significantly impeded.

        26.     Mr. Williams will be deterred from returning to and fully and safely accessing

Defendant’s facilities, however, so long as Defendant’s facilities remain non-compliant, and so

long as Defendant continue to employ the same policies and practices that have led, and in the

future will lead, to inaccessibility at Defendant’s facilities.

        27.     Without injunctive relief, Mr. Williams will continue to be unable to fully and

safely access Defendant’s facilities in violation of his rights under the ADA.

        28.     As an individual with a mobility disability who uses a wheelchair, Mr. Williams

is directly interested in whether public accommodations, like Defendant’s facilities, have

architectural barriers that impede full accessibility to those accommodations by individuals with

mobility-related disabilities.

II.     Defendant Repeatedly Denies Individuals With Disabilities Full and Equal Access to
        Defendant’s Facilities.

        29.     As the owner and manager of its restaurant properties, Defendant employs

centralized policies, practices, and procedures with regard to the design, construction, alteration,

maintenance, and operation of its facilities.

        30.     To date, Defendant’s centralized design, construction, alteration, maintenance,

and operational policies and practices have systematically and routinely violated the ADA by

designing, constructing, and altering facilities so that they are not readily accessible and are

usable, by failing to remove architectural barriers, and by failing to maintain and operate

facilities so that the accessible features of Defendant’s facilities are maintained.

        31.     On Plaintiff’s behalf, investigators examined multiple locations owned,

controlled, and/or operated by Defendant and found the following violations, which are

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illustrative of the fact that Defendant implement policies and practices that routinely result in

accessibility violations:

           a. 21048 Frederick Rd. Germantown, MD

                  i.   The surfaces of one or more purportedly accessible curb ramps had slopes
                       exceeding 8.33%;

           b. 3330 Pine Bluff Drive, Dumfries VA

                  i.   The surfaces of one or more purportedly accessible parking spaces had
                       slopes exceeding 2.1%; and

                 ii.   The surfaces of one or more purportedly accessible access aisles had
                       slopes exceeding 2.1%.

           c. 5613 Spectrum Dr. Frederick, MD

                  i.   The surfaces of one or more purportedly accessible parking spaces had
                       slopes exceeding 2.1%; and

                 ii.   The surfaces of one or more purportedly accessible access aisles had
                       slopes exceeding 2.1%.

           d. 6310 Richmond Hwy. Alexandria, VA

                  i.   The surfaces of one or more purportedly accessible curb ramps had slopes
                       exceeding 8.33%;

           e. 127 E. Broad St. Falls Church, VA

                  i.   The surfaces of one or more purportedly accessible parking spaces had
                       slopes exceeding 2.1%

           f. 12825 Washington Township Blvd. Waynesboro, PA

                  i.   The surfaces of one or more purportedly accessible parking spaces had
                       slopes exceeding 2.1%;

           g. 1050 Wayne Ave. Chambersburg, PA

                  i.   The surfaces of one or more purportedly accessible curb ramps had slopes
                       exceeding 8.33%;




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       32.     The fact that individuals with mobility-related disabilities are denied full and

equal access to numerous of Defendant’s facilities, and the fact that each of these facilities denies

access by way of inaccessible parking facilities, is evidence that the inaccessibility Plaintiff

experienced is not isolated, but rather, is caused by Defendant’s systemic disregard for the rights

of individuals with disabilities.

       33.     Defendant’s systemic access violations demonstrate that Defendant either employ

policies and practices that fail to design, construct, and alter their facilities so that they are

readily accessible and usable and/or that Defendant employs maintenance and operational

policies and practices that are unable to maintain accessibility.

       34.     As evidenced by the widespread inaccessibility of Defendant’s parking facilities,

absent a change in Defendant’s corporate policies and practices, access barriers are likely to

reoccur in Defendant’s facilities even after they have been remediated.

       35.     Accordingly, Plaintiff seeks an injunction to remove the barriers currently present

at Defendant’s facilities and an injunction to modify the policies and practices that have created

or allowed, and will create or allow, inaccessibility to affect Defendant’s network of facilities.

                                      CLASS ASSERTIONS

       36.     Plaintiff brings this class action pursuant to Fed. R. Civ. P. 23(a) and 23(b)(2) on

behalf of himself and the following nationwide class:

       All persons with qualified mobility disabilities who were denied the full and equal
       enjoyment of the goods, services, facilities, privileges, advantages or accommodations of
       any Potomac Family Dining Group Operating Company, LLC location in the United
       States on the basis of disability because such persons encountered accessibility barriers
       due to Defendant’s failure to comply with the ADA’s accessible parking and path of
       travel requirements.

       37.     Numerosity: The class described above is so numerous that joinder of all

individual members in one action would be impracticable. The disposition of the individual

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claims of the respective class members through this class action will benefit both the parties and

this Court and will facilitate judicial economy.

         38.   Typicality: Plaintiff’s claims are typical of the claims of the members of the

class. The claims of Plaintiff and members of the class are based on the same legal theories and

arise from the same unlawful conduct.

         39.   Common Questions of Fact and Law: There is a well-defined community of

interest and common questions of fact and law affecting members of the class in that they all

have been and/or are being denied their civil rights to full and equal access to, and use and

enjoyment of, Defendant’s facilities and/or services due to Defendant’s failure to make its

facilities fully accessible and independently usable as above described.

         40.   Adequacy of Representation: Plaintiff is an adequate representative of the class

because his interests do not conflict with the interests of the members of the class. Plaintiff will

fairly, adequately, and vigorously represent and protect the interests of the members of the class,

and he has no interests antagonistic to the members of the class. Plaintiff has retained counsel

who are competent and experienced in the prosecution of class action litigation, generally, and

who possess specific expertise in the context of class litigation under the ADA.

         41.   Class certification is appropriate pursuant to Fed. R. Civ. P. 23(b)(2) because

Defendant has acted or refused to act on grounds generally applicable to the class, making

appropriate both declaratory and injunctive relief with respect to Plaintiff and the Class as a

whole.

                                 SUBSTANTIVE VIOLATION

         42.   The assertions contained in the previous paragraphs are incorporated by reference.




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       43.     Defendant’s facilities were altered, designed, or constructed after the effective

date of the ADA.

       44.     Defendant’s facilities are required to be altered, designed, and constructed so that

they are readily accessible to and usable by individuals who use wheelchairs. 42 U.S.C. §

12183(a).

       45.     Further, the accessible features of Defendant’s facilities, which include the

parking lots and paths of travel, are required to be maintained so that they are readily accessible

to and usable by individuals with mobility disabilities. 28 C.F.R. § 36.211.

       46.     The architectural barriers described above demonstrate that Defendant’s facilities

were not altered, designed, or constructed in a manner that causes them to be readily accessible

to and usable by individuals who use wheelchairs and/or that Defendant’s facilities were not

maintained so as to ensure that they remained accessible to and usable by individuals who use

wheelchairs.

       47.     Furthermore, the architectural barriers described above demonstrate that

Defendant have failed to remove barriers as required by 42 U.S.C. § 12182(b)(2)(A)(iv).

       48.     Defendant’s repeated and systemic failures to design, construct, and alter its

facilities so that they are readily accessible and usable, to remove architectural barriers, and to

maintain the accessible features of its facilities constitute unlawful discrimination on the basis of

a disability in violation of Title III of the ADA.

       49.     Defendant’s facilities are required to comply with the Department of Justice’s

2010 Standards for Accessible Design, or in some cases the 1991 Standards. 42 U.S.C. §

12183(a)(1); 28 C.F.R. § 36.406; 28 C.F.R., pt. 36, app. A.




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        50.     Defendant is required to provide individuals who use wheelchairs full and equal

enjoyment of their facilities. 42 U.S.C. § 12182(a).

        51.     Defendant have failed, and continue to fail, to provide individuals who use

wheelchairs with full and equal enjoyment of their facilities.

        52.     Defendant has discriminated against Plaintiff and the class in that Defendant has

to make its facilities fully accessible to, and independently usable by, individuals who use

wheelchairs in violation of 42 U.S.C. § 12182(a) as described above.

        53.     Defendant’s conduct is ongoing and continuous, and Plaintiff has been harmed by

Defendant’s conduct.

        54.     Unless Defendant is restrained from continuing its ongoing and continuous course

of conduct, Defendant will continue to violate the ADA and will continue to inflict injury upon

Plaintiff and the class.

        55.     Given that Defendant has not complied with the ADA’s requirements to make

Defendant’s facilities fully accessible to, and independently usable by, individuals who use

wheelchairs, Plaintiff invokes his statutory rights to declaratory and injunctive relief, as well as

costs and attorneys’ fees.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of himself and the members of the Class, prays for:

        a.      A declaratory judgment that Defendant is in violation of the specific requirements
                of Title III of the ADA described above, and the relevant implementing
                regulations of the ADA, in that Defendant’s facilities, as described above, are not
                fully accessible to, and independently usable by, individuals who use wheelchairs;

        b.      A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 C.F.R. §
                36.501(b) that: (i) directs Defendant to take all steps necessary to remove the
                architectural barriers described above and to bring their facilities into full
                compliance with the requirements set forth in the ADA, and its implementing
                regulations, so that the facilities are fully accessible to, and independently usable

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               by, individuals who use wheelchairs; (ii) directs Defendant to change its policies
               and practices to prevent the reoccurrence of access barriers post-remediation; and
               (iii) directs that Plaintiff shall monitor Defendant’s facilities to ensure that the
               injunctive relief ordered above remains in place.

      c.       An Order certifying the class proposed by Plaintiff, naming Plaintiff as class
               representative, and appointing his counsel as class counsel;

      d.       Payment of costs of suit;

      e.       Payment of reasonable attorneys’ fees pursuant to 42 U.S.C. § 12205 and 28
               C.F.R. § 36.505; and

      f.       The provision of whatever other relief the Court deems just, equitable, and
               appropriate.


Dated: June 18, 2019                         Respectfully Submitted,

                                                     s/ Thomas J, Minton
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